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FILED

UNITED STATES DISTRICT COURT SEP 04 2020 a“
NORTHERN DISTRICT OF ILLINOIS THOMAS G. BRUTON
EASTERN DIVISION CLERK, U.S. DISTRICT COUR?

UNITED STATES OF AMERICA

V.

“20CR 602
JUDGE ROWLAND

Magistrate Judge Jantz

— Se SS Ss

FIDEL MARQUEZ

The UNITED STATES ATTORNEY charges:
l. At times material to this information:

a. Commonwealth Edison Company (“ComEd”), with
headquarters located in Chicago, was the largest utility company in Illinois. As a
utility, ComEd was subject to extensive regulation by the State of Illinois. The
State of Illinois regulated the rates that ComEd could charge its customers, as
well as the rate of return ComEd could realize from its business operations.

b. Defendant FIDEL MARQUEZ served as ComEd’s senior vice
president of governmental and external affairs from in or around March 2012 until
in or around September 2019.

c. The legislative branch of government for the State of [linois
was commonly known as the Illinois General Assembly. The Illinois General
Assembly was composed of two houses: The House of Representatives and the
Senate. The Illinois General Assembly routinely considered bills and passed

legislation that had a substantial impact on ComEd’s operations and profitability,
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including legislation that affected the regulatory process used to determine the
rates ComEd could charge customers for the delivery of electricity.

d. Public Official A was the Speaker of the House of
Representatives and an elected member of that body. As Speaker of the House of
Representatives, Public Official A was able to exercise control over what
measures were called for a vote in the House of Representatives. Public Official
A also exercised substantial influence and control over fellow lawmakers
concerning legislation, including legislation affecting ComEd.

e. The State of Illinois annually received in excess of $10,000 in
federal benefits in each calendar year from 2011 through 2019.

2. Beginning no later than in or around 2011, and continuing through in
or around 2019, in the Northern District of Illinois, Eastern Division, and
elsewhere,

FIDEL MARQUEZ,
defendant herein, did conspire with others known and unknown:

a. to corruptly solicit and demand, and to accept and agree to
accept from another person things of value, namely, jobs, contracts, and monetary
payments associated with those jobs and contracts, for the benefit of Public
Official A and his associates, intending that Public Official A, an agent of the State
of Illinois, be influenced and rewarded in connection with any business,

transaction, and series of transactions involving things of value of $5,000 or more
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of the State of Illinois, namely, legislation affecting ComEd and its business, in
violation of Title 18, United States Code, Section 666(a)(1)(B); and

b. to corruptly give, offer, and agree to give things of value,
namely, jobs, contracts, and monetary payments associated with those jobs and
contracts, for the benefit of Public Official A and his associates, with intent to
influence and reward Public Official A, as an agent of the State of Illinois, in
connection with any business, transaction, and series of transactions involving
things of value of $5,000 or more of the State of Illinois, namely, legislation
affecting ComEd and its business, in violation of Title 18, United States Code,
Section 666(a)(2).

3. It was part of the conspiracy that, for the purpose of influencing and
rewarding Public Official A in connection with his official duties as Speaker of the
Illinois House of Representatives, and to assist ComEd with respect to legislation
affecting ComEd and its business, ComEd arranged for various associates of
Public Official A, including Public Official A’s political allies and individuals who
performed political work for Public Official A, to obtain jobs, contracts, and
‘monetary payments associated with those jobs and contracts from ComEd and its
affiliates, even in instances where such associates performed little or no work that

they were purportedly hired to perform for ComEd.
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Overt Act
A. In furtherance of the conspiracy and to effect its objects and purposes,
defendant MARQUEZ and his co-conspirators committed and caused to be
committed the following overt act, among others, within the Northern District of
Illinois and elsewhere: On or about July 30, 2018, MARQUEZ caused a payment
of $37,500 to be sent to Company 1, a substantial portion of which was intended for
associates of Public Official A.

Allin violation of Title 18, United States Code, Section 371.

Digitally signed by AMARJEET

AMARJEET BHACHU Bxacny

_ "Date: 2020.09.03 16:12:14 -05'00"

Signed by Amarjeet S. Bhachu
on behalf of the
UNITED STATES ATTORNEY

 
